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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

OQ RIGINAL

 

 

 

 

 

 

 

CASE SUMMARY on
. ze at 3
Case Number G 6 _ 6 t C 6 Defendant Number _ 1 9 ~
U.S.A. v. Matthew Martin Year of Birth _ 1963 “ ' ome:
i Indictment O Information Investigative agency (FBI, DEA, etc.) ATF so Me r
Cree: ;
NOTE: Allitems are to be completed. Information not applicable or unknown shall be indicated a af" N/? "= C
init
Pos os
OFFENSE/VENUE COMPLEX CASE Ss no
a, Offense charged as a: Cl Petty Offense Are there 8 or more defendants jn the rdf@tmeutty Information?
DO Misdemeanor J Minor Offense uw Felony OC Yes* No “

b. Date of offense April 15, 2008
c. County in which first offense occurred
Los Angeles

d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

Wf Los Angeles UO Ventura
Oi Orange C1 Santa Barbara
C1 Riverside O San Luis Obispo

[] San Bernardino 0 Other
Citation of offense 18 U.S.C. 922(g)

 

RELATED CASE
Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial? No UO Yes
IF YES Case Number

 

Pursuant to Section 11 of General Order 224, criminal cases

may be related if a previously filed indictment or information

and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE _N/A

 

 

PREVIOUSLY FILED COMPLAINT
A complaint was previously filed on: N/A
Case Number
Charging

 

 

 

The complaint: 1 is still pending
C was dismissed on:

 

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
0 Yes* No

*AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Superseding Indictment/Information

This is the _N/A__ superseding charge, i.e. 1", 2"!
The superseding case was previously filed on:

 

Case Number

 

The superseded case:
C1 is still pending before Judge/Magistrate Judge

 

C was previously dismissed on

Are there 8 or more defendants in the superseding case?
D Yes* C1 No

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
Oi Yes* O No

Was a Notice of Complex Case filed on the Indictment or
Information?
H Yes ONo

* AN ORIGINALAND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Is an interpreter required: C1 Yes i No
IF YES, list language and/or dialect:

 

 

CR-72 (12/05)

CASE SUMMARY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

CASE SUMMARY 3
OTHER CUSTODY STATUS
iWMale FD Female . .
“ys . Defendant is not in custody:

U.S. Citizen O Alien : .
Alias Name(s) a. Date and time of arrest on complaint:

b. Posted bond at complaint level on:

in the amount of $

This defendant is charged in: Mf All counts c. PSA supervision? -O Yes C1 No
O Only counts: d. Is a Fugitive D Yes ONo

 

Is on bail or release from another district:

@

(1 This defendant is designated as “High Risk” per
18 USC 3146(a)(2) by the U.S. Attorney.

 

. . . . . i tified b
C1 This defendant is designated as “Special Case” f. O Has not been arrested but will be notified by summons

 

 

 

 

 

 

 

 

 

 

to appear.
per 18 USC 3166(6)(7). g. Warrant requested. M Yes C1 No
Is defendant a juvenile? D Yes MNo
IF YES, should matter be sealed? Oi Yes O1No Defendant is in custody:
The area of substantive law that will be involved in this case a. Place of incarceration: State O Federal
includes: b. Name of Institution:
CJ financial institution fraud Ci public corruption c. If Federal: U.S. Marshal's Registration Number:
[ government fraud OD tax offenses : : :
C environmental issues Cl mail/wire fraud d. 0 Solely on this charge. Date and time of arrest:
Ui narcotics offenses C] immigration offenses
M violent crimes/firearms CX corporate fraud e. On another conviction: Oi Yes a No
7c Other: IF YES Ci State DF Federal D Writ of Issue
_ , f. Awaiting trial on other charges: UO Yes O1No
IF YES C State CO Federal AND
Name of Court:
Date transferred to federal custody:
This person/proceeding is transferred from another district
pursuant to F.R.CrP. 20 21 400
EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information EXPLAIN:

 

 

 

 

Date August 29, 2008 \Mape St C. Ss

Signature of Assistant U.S. Attorney

Max Shiner
Print Name

 

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